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October 7, 2024 (VIA ECF) DOCUMENT

The Honorable Lewis A. Kaplan ELECTRONICALLY FILED

United States District Court DOC # ‘
Southern District of New York DATE FILED: fa / / b/247
Daniel Patrick Moynihan -

United States Courthouse

500 Pearl St.

New York, NY 10007

Re: In re Pliego et al., Case No.: 24 Mise. 394 (LAK) ee

Dear Judge Kaplan:

This Firm represents Respondents Jaitegh “IT” Singh, the Singh Law Firm, and Jurist IQ Corp.
(collectively, “Respondents”) in the above-referenced miscellaneous action. We write in response
to Applicants’ October 5, 2024 letter (“Applicants’ Letter”, Dkt. No. 11.)

On September 9, 2024, Your Honor granted Applicants’ ex parte application for three Subpoenas
seeking documents from each of the Respondents. (Dkt. No. 9.) In his September 30, 2024 pro-
sé letter to this Court, Mr. Singh sought thirty additional days for Respondents to retain counsel
and to respond to the Subpoenas. (Dkt. No. 10.) Your Honor granted Respondents’ request in
part, allowing Respondents ten additional days until October 10, 2024. (d.) That Order was
without prejudice to filing a renewed application for more time, if such request was filed on or
after October 7, 2024. (/d.) Applicants’ Letter opposes any further extension. (Dkt. No. 11.)

Subsequent to this Court’s Order, Respondents retained undersigned counsel who, in accordance
with the Court’s Order, now respectfully request an extension of the deadline for Respondents to
respond to the Subpoenas until October 30, 2024. This brief extension will allow counsel to get up
to speed on the underlying issues, work with Applicants to target priority materials for collection
and production, and to provide responsive information.

Since their retention, counsel for the Respondents have already taken meaningful steps to comply
expeditiously with the Subpoenas, including, working to collect responsive documents, meeting
and conferring with counsel for Applicants, and providing written responses and objections to
the Subpoenas. Notwithstanding these efforts, for the reasons set forth below, it is simply not
feasible for Respondents to complete their collection, review for responsiveness and privilege,
and effect production, all by October 10, 2024.

First, grven the nature of the documents at issue, including confidential banking and financial
information and lawyer communications, Respondents cannot begin producing materials until a

LuatViet » Fernanda Lopes & Assoclados » Guevara & Gutierrez » Paz Horowitz Abogatios » Sirote » Adepetun Caxton-Martins Agbor &
Segun > Davis Brown & East African Law Chambers > Eric Silwamba, Jalasi and Linyama » Durham Jones & Pinegar » LEAD Advogados
» For more information on the firms that have core together to form Dentons, go to dentons.com/legacyfirms

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suitable protective order is in place. Respondents have already discussed this issue with the
Applicants, and will provide them with a proposed draft protective order tomorrow for their
review, which the Respondents then propose to forward to the Court for Your Honor’s
consideration.

Second, several of Applicants’ sweeping document requests are not targeted to readily
identifiable non-privileged documents related to Applicants’ transactions, and therefore are not
necessarily amenable to quick collection and production. For example, just one of Applicants’
combined forty-three document requests broadly seeks “all contracts, agreements, receipts,
invoices, communications or other documents that relate to payments made from the JP Morgan
Chase Jurist IQ Account” at issue to fifteen different persons or entities over a more than three
year period. (See, e.g., Dkt. No, 5-1 (Singh Subpoena), Request No. 5.) Another broad request
similarly seeks “all documents and communications” that contain instructions regarding money
paid out of the subject bank account over that same time frame. (See id., Request No. 7.)

Because the application proceedings for the Subpoenas were ex parte, the Court considered the
Applicants’ rendition of the facts, while the Respondents did not at that time have the
opportunity to challenge the propriety or scope of the discovery requested. Thus, for example,
Applicants’ request for “all” documents, communications, and instructions that relate to
payments from the JP Morgan Chase Jurist IQ Account over a three-year period is likely to
encompass documents wholly unrelated to the Applicants’ transactions or to the parties in the
English Action. Further, Applicants have no basis for the claim in their Moving Papers that
these requests, which target “communications” in Mr. Singh’s and his law firms’ files are not
privileged or, will not at a minimum, require a careful privilege review. (Dkt. No. 4 at 24-25.)
Collection of electronic communications between a lawyer and his client, potentially
encompassing various types of message media over a three year period, is a time consuming
process, Here, those searches, which will all come from legal files, will necessarily sweep in
many types of documents, which will then have to be carefully reviewed for privilege and

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responsiveness before they can be produced.

Furthermore, nothing in Applicants’ Letter justifies their refusal to agree to any additional time
to respond when Respondents’ counsel has only been formally retained for less than a week.
Rather, the materials Applicants attach to their Letter only underscore why more time is
appropriate here. Applicants’ Letter included more than 30 pages of dense, detailed affidavits
regarding complex loan transactions relating to a matter in which Mr. Singh is not a party. At
most, Applicants allege that the parties to the English Action previously asked Mr. Singh to
provide information in response to certain questions. (See Dkt. No. 11-2 42-11.) That is far cry
from Applicants’ implication that Mr. Singh has already pre-collected the documents necessary

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For the avoidance of doubt, Respondents recognize that not all communications regarding payments are likely to
be privileged, and therefore will need to make an individualized assessment of each communication to ensure it does
not also contain a request for, or the provision of, legal advice.

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to respond to forty-three broad document requests—which he has not—and can therefore easily
reproduce them,

Likewise, the Chenming matter currently pending before Judge Failla also has no bearing on the
discovery sought here. See Chenming Holdings (Hong Kong) Limited v. John Does 1-10, et al.,
Docket No. 24 Civ. 935 (KPF). That case involves different transactions and a different
borrower. It is also only at the pleading stage, and therefore no discovery has commenced, A.
pre-motion conference on defendants’ motions to dismiss is set for October 29, 2024 (See Dkt.
No. 69 (24 Civ. 935)); and, the Chenming subpoenas that Applicants reference were withdrawn
before any documents were produced. (See id., Dkt. No. 28.)

Lastly, undersigned counsel was not involved in any of the other prior litigation that Applicants
point to in their Letter. Regardless of what happened in those matters, they have no bearing on
whether Respondents are entitled to adequate time and assistance of counsel to properly respond
to the discovery demanded here.

Notwithstanding Applicants’ contention that the time sensitivity “speaks for itself,” (Dkt. No. 11
at 2), they fail to make a persuasive case that they would be harmed by an extension of Jess than
thirty days. Applicants appear to have already obtained a worldwide freeze order against
Sklarov and other relevant participants in the English Action. (See Dkt. No. 4, at 13.) Nor is it
clear how the documents requested by the Subpoenas here, which extend back over a three year
period, are necessary to avoid any alleged “ongoing” or future harm, or why the modest
extension sought here further increases the purported “imminent risk,” when the documents are
historical in nature (7d. at 2-3.).

For the reasons set forth above, Respondents respectfully request until October 30, 2024 to
respond to the Subpoenas. Thank you for your consideration of this request.

Respectfully submitted,

[Signatures on the next page]

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SO ORDERED

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